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                     8                       UNITED STATES DISTRICT COURT
                     9                    CENTRAL DISTRICT OF CALIFORNIA –
                    10                             WESTERN DIVISION
                    11

                    12   AMAZON LOGISTICS, INC.,                Case No. 2:20-cv-03230-AB
                    13               Appellant,                 USBC Case No. 2:19-bk-14989-WB
                    14         v.                               APPELLANT AMAZON
                                                                LOGISTICS, INC.’S OPENING
                    15   SCOOBEEZ,                              BRIEF
                    16               Appellee.
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                     1                          Corporate Disclosure Statement
                     2         1.    Appellant, Amazon Logistics, Inc., is a wholly owned subsidiary of
                     3   Amazon.com, Inc.
                     4         2.    No publicly held company holds 10% or more of the stock of
                     5   Amazon.com, Inc.
                     6   Dated: July 1, 2020                         MORGAN, LEWIS & BOCKIUS LLP
                                                                     Richard W. Esterkin
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                     1                           JURISDICTIONAL STATEMENT
                     2         A.      This appeal arises from: (a) the Bankruptcy Court’s determination that
                     3   the automatic stay provided for in 11 U.S.C. § 362(a)(3) created rights in favor of
                     4   the debtor/appellee, Scoobeez, (“Scoobeez”) that it did not otherwise have under
                     5   the express terms of the parties’ contract and (b) the Bankruptcy Court’s denial of
                     6   Appellant, Amazon Logistics, Inc.’s, motion for an order modifying the automatic
                     7   stay so as to permit it to exercise its contractual rights (the “Motion”). The
                     8   Bankruptcy Court had subject matter jurisdiction over the Motion pursuant to 28
                     9   U.S.C. § 1334(b) and this Court’s General Order No. 13-05 pursuant to 28 U.S.C. §
                    10   157(a) referring matters within its bankruptcy jurisdiction to the Bankruptcy Court.
                    11         B.      This Court has jurisdiction over this appeal pursuant to 28 U.S.C. §
                    12   158(a)(1) as this appeal relates to a final order and Amazon Logistics, Inc.
                    13   (“Amazon”) has elected to have this appeal heard by this Court rather than the
                    14   bankruptcy appellate panel. Ritzen Group, Inc. v. Jackson Masonry, LLC, 140 S.Ct.
                    15   582 (2020).
                    16         C.      This appeal was timely filed as the order appealed from was entered on
                    17   April 2, 2020 and Amazon’s Notice of Appeal was filed that same day. Fed. R.
                    18   Bankr. P. 8002(a)(1) (notice of appeal must be filed within 14 days after entry of
                    19   the order to which the appeal relates).
                    20         D.      This appeal is from a final order.
                    21                     STATEMENT OF THE ISSUES PRESENTED
                    22         This appeal raises two independent issues:
                    23         First, whether the Bankruptcy Court erred by concluding that the automatic
                    24   stay required Amazon to do business with Scoobeez, despite the clear language of
                    25   the parties’ agreement disclaiming any such obligation. The Bankruptcy Court’s
                    26   decision as to this issue raises an issue of law that this Court reviews de novo.
                    27   Highmark Inc. v. Allcare Health Management Systems, Inc., 572 U.S. 559, 563
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                     1   (2014) (“Traditionally, decisions on ‘questions of law’ are reviewable de novo . . .
                     2   .”).
                     3          Second, whether the Bankruptcy Court abused its discretion by denying the
                     4   Motion and, thereby, preventing Amazon from exercising its right to terminate its
                     5   contract with Scoobeez (the “Agreement”) which, by its terms, is terminable by
                     6   either party without cause.
                     7                             STATEMENT OF THE CASE
                     8          Amazon arranges for the delivery of merchandise purchased on the
                     9   Amazon.com website to consumers. In order to do so, it contracts with delivery
                    10   service providers, such as Scoobeez, who receive packages at Amazon’s delivery
                    11   stations and deliver those packages to consumers. This appeal involves two
                    12   provisions of the Agreement.
                    13          First, the Agreement clearly provides that Amazon is not required to utilize
                    14   Scoobeez’s services:
                    15                You acknowledge and agree that Amazon makes no
                    16                promises or representations whatsoever as to the amount of
                    17                business that you can expect at any time under these Terms,
                    18                whether before or after any Work Order becomes binding
                    19                on you.
                    20   [ER1449]
                    21          Second, the contract grants both Amazon and Scoobeez the right to terminate
                    22   the Agreement “at any time, with or without cause, by providing the other party
                    23   with 30 days’ prior written notice.” [ER1454]
                    24          On October 28, 2019, Amazon filed the Motion in the Bankruptcy Court
                    25   seeking an order: (a) determining that the automatic stay did not require it to
                    26   provide business to Scoobeez, (b) that, if the Bankruptcy Court determined that the
                    27   automatic stay did require Amazon to provide business to Scoobeez, modifying the
                    28   automatic stay to relieve Amazon of that obligation and (c) modifying the
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                     1   automatic stay to permit Amazon to provide Scoobeez with a 30 day termination
                     2   notice pursuant to Section 8(a) of the Agreement. On April 2, 2020, the
                     3   Bankruptcy Court entered its order denying the Motion in its entirety. [ER4317-
                     4   4320] This appeal followed.
                     5                          SUMMARY OF THE ARGUMENT
                     6         I.     The Bankruptcy Court Erred as a Matter of Law in Determining that
                     7   the Automatic Stay Required Amazon to Provide Business to Scoobeez.
                     8         Bankruptcy Code section 362(a)(3) prohibits “any act to obtain possession of
                     9   property of the estate or of property from the estate or to exercise control over
                    10   property of the estate.” 11 U.S.C. § 362. The estate’s property rights are defined
                    11   by applicable non-bankruptcy law. Butner v. United States, 440 U.S. 48, 55 (1979).
                    12   The automatic stay does not create new property rights or enhance those otherwise
                    13   possessed by the bankruptcy estate. FAA v. Gull Air, Inc. (In re Gull Air, Inc.), 890
                    14   F.2d 1255, 1261 (1st Cir. 1989).
                    15         Here, Scoobeez’s property rights are defined by the Agreement. The
                    16   Agreement does not compel Amazon to provide any business to Scoobeez.
                    17   Accordingly, just as Scoobeez had no right to demand business from Amazon prior
                    18   to its bankruptcy filing, it has no right to demand that business during its
                    19   bankruptcy case. As a result, were Amazon to cease providing business to
                    20   Scoobeez, it would not be engaging in an act to obtain possession of, or exercising
                    21   control over, Scoobeez’s property in violation of the automatic stay. Put another
                    22   way, contrary to applicable law, the Bankruptcy Court’s order permits Scoobeez to
                    23   use the automatic stay to create a property right that does not otherwise exist.
                    24         II.    The Bankruptcy Court Abused its Discretion by Denying Amazon’s
                    25   Motion to Modify the Stay to Permit Amazon to Terminate its Contract with
                    26   Scoobeez.
                    27         As noted above, the Agreement permits both Amazon and Scoobeez to
                    28   terminate the Agreement without cause upon 30 days’ written notice. In denying
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                     1   the Motion, which sought to permit Amazon to exercise that right, the Bankruptcy
                     2   Court balanced the harm to Scoobeez’s bankruptcy estate from granting the
                     3   requested relief against the harm to Amazon from denying the relief. In doing so,
                     4   the Bankruptcy Court abused its discretion in concluding that the balance of harms
                     5   weighed in favor of denying the Motion.
                     6         The uncontradicted evidence before the Bankruptcy Court demonstrated that
                     7   the harms to Amazon included:
                     8             Paying Scoobeez over $250,000 per month in excess of the cost of an
                     9               alternative delivery service provider;
                    10             Continuing to expose Amazon to litigation risk from Scoobeez’s
                    11               employment practices which, in turn causes Amazon to
                    12                   o Expend costs defending and settling the litigation;
                    13                   o Utilize its employees’ time in connection with the litigation,
                    14                      rather than focusing on Amazon’s business;
                    15                   o Be exposed to adverse publicity when the press reports that
                    16                      drivers delivering Amazon products are not being paid in
                    17                      compliance with applicable law;
                    18                   o Reveal confidential business information during litigation
                    19                      discovery; and
                    20                   o Expose its delivery network to capacity risks due to the effect of
                    21                      the litigation upon its delivery service providers.
                    22         The Bankruptcy Court balanced those harms against the harm to Scoobeez’s
                    23   reorganization efforts, noting that, because Amazon was Scoobeez’s only client,
                    24   granting the requested relief would end Scoobeez’s efforts to reorganize. However,
                    25   the Bankruptcy Court simply ignored the fact that there was no evidence that
                    26   Scoobeez could successfully reorganize. In fact, all of the evidence was that no
                    27   reorganization was possible and, that, even if Scoobeez could reorganize, the
                    28   Agreement was irrelevant to that reorganization because, as soon as the
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                     1   reorganization became effective, the automatic stay would terminate and Amazon
                     2   could then exercise its 30-day termination right. Among other things, the record
                     3   considered by the Bankruptcy Court demonstrated that:
                     4             Scoobeez has no clients other than Amazon, despite attempting to
                     5               obtain other clients throughout its relationship with Amazon
                     6               (beginning in 2015) and being told on October 7, 2019 that Amazon
                     7               intended to terminate its relationship with Scoobeez as soon as it was
                     8               able to do so.
                     9             Once a plan of reorganization is confirmed and becomes effective, the
                    10               automatic stay will terminate and Amazon will be free to exercise its
                    11               right to terminate its contract on 30 days’ notice. 11 U.S.C. §
                    12               362(c)(1). As a result, Scoobeez will not have any material income
                    13               source 30 days after its plan of reorganization becomes effective.
                    14             The proposed plan of reorganization that was before the Court
                    15               provides, among other things, that Hillair Capital Management, LLC
                    16               and Hillair Capital Investments, LP (“collectively, “Hillair”) are to
                    17               receive a promissory note requiring the payment of a minimum of
                    18               $100,000 per week. There was no evidence presented to the
                    19               Bankruptcy Court, however, as to any prospective source of the funds
                    20               needed to make that payment. As a result, the only conclusion that the
                    21               Bankruptcy Court could possibly reach was that the plan was not
                    22               feasible and, therefore, not confirmable. See 11 U.S.C. § 1129(a)(11)
                    23               (requiring that, in order to confirm a plan of reorganization, the
                    24               bankruptcy court must conclude that “Confirmation of the plan is not
                    25               likely to be followed by the liquidation, or the need for further
                    26               financial reorganization, of the debtor or any successor to the debtor
                    27               under the plan . . . .”).
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                     1   As a result, the Bankruptcy Court’s denial of the Motion simply holds Amazon
                     2   hostage during the interim to no good purpose. Doing so was an abuse of the
                     3   Bankruptcy Court’s discretion.
                     4                                      ARGUMENT
                     5    I.   STATEMENT OF FACTS
                     6         On September 2, 2015, Amazon and Scoobeez entered into the Agreement,
                     7   which prescribes the terms pursuant to which Amazon could request that Scoobeez
                     8   perform delivery services for it. Specifically, the Agreement provides:
                     9                At Amazon’s request and as specified in one or more work
                    10                orders that become binding upon you . . . you will provide
                    11                transportation, delivery and related services . . . in
                    12                accordance with these terms and conditions of these Terms,
                    13                the Program Policies, and any performance standards set
                    14                forth in each applicable Work Order.
                    15   Delivery Provider Terms of Service, ¶ 1(a), ER 1449. The Agreement was also
                    16   explicit that Amazon was not obligated to request that Scoobeez perform any
                    17   services.
                    18                You acknowledge and agree that Amazon makes no
                    19                promises or representations whatsoever as to the amount of
                    20                business that you can expect at any time under these Terms,
                    21                whether before or after any Work Order becomes binding
                    22                on you.
                    23   Delivery Provider Terms of Service, ¶ 1(c), ER 1449. In addition, the Agreement
                    24   provides that it would continue indefinitely until terminated by either party on 30
                    25   days’ written notice.
                    26                The term of these Terms will begin on the Effective Date
                    27                and will continue until terminated in accordance with this
                    28                Section 8.a (the “Term.”). Either party may terminate these
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                     1                 Terms at any time, without or without cause, by providing
                     2                 the other party with 30 days’ prior written notice. If the
                     3                 term of any Work Order extends beyond the Term, these
                     4                 Terms will survive for the purposes of that Work Order
                     5                 until the termination of that Work Order.
                     6   Delivery Provider Terms of Service, ¶ 8.a, ER 1454.
                     7          On April 19, 2019, Scoobeez filed a voluntary petition under chapter 11 of
                     8   the United States Bankruptcy Code.1 Following the filing of Scoobeez’s
                     9   bankruptcy petition, Amazon continued to request delivery services from Scoobeez,
                    10   paying Scoobeez approximately $3,500,000 to $4,000,000 per month.2 Scoobeez
                    11   has no material source of income, apart from the income that it receives from
                    12   Amazon, despite its consistent efforts to diversify its customer base since entering
                    13   into the Agreement.3
                    14          Commencing in April 2019, Amazon formed a “Network Health Team” to
                    15   evaluate all of the delivery services providers with whom Amazon was then doing
                    16   business.4 That evaluation was conducted to identify poorly performing delivery
                    17   service providers and to address excess capacity.5 After considering a number of
                    18   other metrics, on August 9, 2019, the Network Health team determined to terminate
                    19   Amazon’s relationship with delivery services providers that had one or both of two
                    20   characteristics: (a) having embroiled Amazon in multiple wage/hour litigations and
                    21   (b) having multiple violations of the delivery service provider’s contract with
                    22   Amazon.6 Scoobeez was one of 15 delivery services providers whose contracts
                    23
                         1
                           ER 0001-0016.
                    24   2
                           Declaration of George Voskanian, Ex. A, ER 2565-2569 (Dkt. No. 613).
                    25   3
                           Voskanian Dep. Tr. at 93:21-22, ER 2456; Sheikh Dep. Tran. at 168:14-16, ER 2439; Weiss
                         Dep. Tran. at 55:8-13, ER 2487.
                    26   4
                           Wilson Dep. Tran. at 136:15-23, ER 2506.
                    27   5
                           Wilson Supp. Decl., Ex. A, ER 3916-3945.
                         6
                    28     Wilson Supp. Decl., Ex. B, ER 3946-3962.
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                     1   were scheduled for termination due to multiple wage hour litigations.7
                     2          On September 20, 2019, as part of its then pending motion to sell certain of
                     3   its assets to its secured lender in exchange for credit against the debt secured by
                     4   those assets, Scoobeez filed a notice stating that it intended to assume and assign
                     5   the Agreement to the then prospective purchaser.8 On October 1, 2019, Amazon
                     6   filed a timely objection to the assumption and assignment of the Agreement in
                     7   which it stated, among other things, that:
                     8                 Moreover, the Debtors’ attempt to assign the Agreement
                     9                 without Amazon’s consent is a fruitless endeavor. As
                    10                 noted above, Amazon is under no obligation to make use
                    11                 of the Debtors’ services, or those of any assignee, if the
                    12                 Agreement is assumed and assigned to a third party.
                    13                 Further, even if the Agreement could somehow be read as
                    14                 obligating Amazon to utilize the Debtors’ services, which
                    15                 it cannot, the Agreement is, by its terms, terminable by
                    16                 Amazon (and by Scoobeez) with or without cause, on 30
                    17                 days’ notice.
                    18   Bankr. Dkt. No. 349 at 6:19-24, ER 0584.
                    19          On October 7, 2019, Scoobeez was informed that Amazon intended to
                    20   exercise its right to terminate the Agreement.9 On October 25, 2019, Scoobeez
                    21   filed an adversary proceeding seeking, among other relief, a declaration that any
                    22   attempt by Amazon to reduce the number of routes awarded to Scoobeez would
                    23   constitute a violation of the automatic stay [11 U.S.C. § 362(a)(3)].10 On October
                    24   28, 2019, Amazon filed the Motion, which sought an order determining that the
                    25
                         7
                            Id.; see also Wilson Dep. Tran. at 145:5-146:1 and 259:5-19, ER 2509-2510 and 2515.
                    26   8
                            Bankr. Dkt. No. 336, ER 0563-0574.
                    27   9
                            Declaration of Brian Weiss (Adv. Dkt. No. 2), pg. 23 of 47 at ¶ 10, ER 4574.
                         10
                    28       Motion to Intervene, Adv. Dkt. No. 6, ER 4613.
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                     1   automatic stay did not require Amazon to utilize Scoobeez’s services or, in the
                     2   alternative for relief from the stay with respect to the number of routes awarded to
                     3   Scoobeez and to permit Amazon to exercise its right to terminate the Agreement.11
                     4   After substantial discovery, on April 20, 2020, the Bankruptcy Court entered its
                     5   order denying Amazon’s motion in its entirety. This appeal ensued.
                     6   II.      THE AUTOMATIC STAY DOES NOT REQUIRE AMAZON TO DO
                     7            BUSINESS WITH SCOOBEEZ.
                     8            The Bankruptcy Court’s refusal to acknowledge that the automatic stay does
                     9   not compel Amazon to do business with Scoobeez violates a fundamental principle
                    10   of bankruptcy law - a bankrupt’s property rights are defined by applicable non-
                    11   bankruptcy law. Butner v. United States, 440 U.S. 48, 55 (1979) (“Property
                    12   interests are created and defined by state law.”); see also FAA v. Gull Air, Inc. (In
                    13   re Gull Air, Inc.), 890 F.2d 1255, 1261 (1st Cir. 1989) (“The Bankruptcy Code does
                    14   not create or enhance property rights of a debtor.”); Moody v. Amoco Oil Co. (In re
                    15   Moody), 734 F.2d 1200, 1213 (7th Cir. 1984), cert. denied, 469 U.S. 982 (1984)
                    16   (“The filing of the chapter 11 petition cannot expand debtor’s rights . . . .”).
                    17            Bankruptcy Code section 362(a)(3) provides that the filing of a petition
                    18   operates as a stay of “any act to obtain possession of property of the estate or of
                    19   property from the estate or to exercise control over property of the estate . . . .” 11
                    20   U.S.C. § 362(a)(3). Here, Scoobeez’ property rights are defined by the Agreement.
                    21   The Agreement clearly provides that Scoobeez is to render services “[a]t Amazon’s
                    22   request” (Terms at ¶ 1(a), ER 1449). Notably, in the Agreement, Scoobeez
                    23   “acknowledge[d] and agree[d] that Amazon makes no promises or representations
                    24   whatsoever as to the amount of business that you can expect at any time under these
                    25   Terms . . . .” (Terms at ¶ 1(c), ER 1449). Because Scoobeez’ property rights are
                    26   defined by the Agreement, and the Agreement does not grant Scoobeez a right to
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                    28        Bk. Dkt. No. 393, ER 1424-1607.
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                     1   obtain business from Amazon, the automatic stay does not require Amazon to
                     2   provide Scoobeez with business.
                     3            A number of courts have held that the automatic stay does not enlarge a
                     4   debtor’s rights. For example, in Gull Air, supra, prior to the petition date, the
                     5   debtor held landing slots at La Guardia Airport. Post-petition, pursuant to the
                     6   FAA’s regulations, the debtor’s rights with respect to the landing slots were
                     7   automatically terminated as a result of the debtor’s failure to use the slots.
                     8   Although the Court held that the debtor had “a limited proprietary interest in slots”
                     9   (890 F.2d at 1260) prior to the termination, because “[t]he Bankruptcy Code does
                    10   not create or enhance property rights of a debtor” (890 F.2d at 1261), the Court
                    11   concluded that “the automatic stay [] does not prevent the FAA from reallocating
                    12   the four LaGuardia slots.” 890 F.2d at 1262.
                    13            Similarly, in In re Clearpoint Business Resources, Inc., 442 B.R. 292 (Bankr.
                    14   Del. 2010), the debtor sought an order determining that its contract counter-party
                    15   had violated the automatic stay by contending that the parties’ contract had
                    16   terminated. The Court concluded that the contract had terminated by its terms and,
                    17   because “[a] Chapter 11 filing does not expand a debtor’s rights” the contract
                    18   counter-party had not violated the automatic stay. 442 B.R. at 296-297.
                    19            The automatic stay protects a debtor’s interest in property of the estate, but
                    20   only if a property interest exists under applicable non-bankruptcy law. In this case,
                    21   however, the Agreement is clear that Scoobeez is not entitled to any business from
                    22   Amazon and the fact that all parties so understood the Agreement was confirmed in
                    23   the depositions taken in discovery in relation to the Motion.12 As a result, the
                    24   Bankruptcy Court erred by denying the Motion and its order should be reversed.
                    25   ////
                    26   ////
                    27
                         12
                    28        See Weiss Depo. Tr. at 61:15-62:10, ER 4158-4159; McAvoy Depo. Tr. at 109:1-6, ER 4049.
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                     1   III.   THE BANKRUPTCY COURT ABUSED ITS DISCRETION BY
                     2          DENYING AMAZON’S MOTION TO MODIFY THE STAY.
                     3          Bankruptcy Code section 362(d)(1) provides that “the court shall grant relief
                     4   from the stay provided under subsection (a) of this section . . . (1) for cause . . . .”
                     5   11 U.S.C. § 362(d)(1) (emphasis added). “‘Cause’ is not defined in [§ 362(d)(1)],
                     6   giving the bankruptcy courts the flexibility to define cause in a particular case.” In
                     7   re Mantachie Apartment Homes, LLC, 488 B.R. 325, 331 (Bankr. N.D. Miss.
                     8   2013). The Bankruptcy Court applied the correct standard when deciding
                     9   Amazon’s motion, i.e., “the consequences of the stay on the parties and the ‘balance
                    10   of hurt’ in tailoring relief appropriate for the factual scenario.” In re Tudor Motor
                    11   Lodge Assoc. Limited Partnership, 102 B.R. 936, 954 (Bankr. N.J. 1989). In doing
                    12   so, however, it abused its discretion.
                    13          There was no dispute as to the facts relevant to the Bankruptcy Court’s
                    14   exercise of its discretion. First, continuing the automatic stay in effect (assuming
                    15   that it barred Amazon from ceasing to award any business to Scoobeez) would
                    16   require Amazon to continue to do business with a delivery partner against its will
                    17   and contrary to the parties’ bargain in the Agreement. As a result, Amazon would
                    18   be required to:
                    19              Pay Scoobeez over $250,000 per month in excess of the cost of an
                    20                 alternative delivery service provider;13
                    21              Continue to expose Amazon to litigation risk from Scoobeez’
                    22                 employment practices which, in turn causes Amazon to
                    23                     o Expend costs defending and settling the litigation;14
                    24

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                         13
                            Declaration of George Voskanian, Ex. A, ER 2565-2569 (Dkt. No. 613); Voskanian Depo. Tr.
                    27   at 283:7-13, ER 4146.
                         14
                    28      Wilson Depo. Tr. at 262:9-12, ER 4183; McCabe Depo. Tr. at 202:5-22, ER 4064.
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                     1                     o Utilize its employees’ time in connection with the litigation,
                     2                         rather than focusing on Amazon’s business15
                     3                     o Be exposed to adverse publicity when the press reports that
                     4                         drivers delivering Amazon products are not being paid in
                     5                         compliance with applicable law;16
                     6                     o Reveal confidential business information during litigation
                     7                         discovery;17 and
                     8                     o Expose its delivery network to capacity risks due to the effect of
                     9                         the litigation upon its delivery service providers.18
                    10          Although there is nothing in the Agreement that prohibited Scoobeez from
                    11   attempting to obtain other clients,19and Scoobeez was “always attempting to
                    12   diversify,”20 Amazon is Scoobeez’s only client.21 As a result, if Amazon were
                    13   permitted to terminate the Agreement, Scoobeez would lack any reasonable
                    14   prospect for reorganization. Predicated upon that fact, the Bankruptcy Court
                    15   concluded that the “balance of harms tips in favor of the debtors rather than
                    16   Amazon . . . .”22
                    17          The problem with the Bankruptcy Court’s conclusion is that there was no
                    18   evidence before the Bankruptcy Court that Scoobeez could successfully reorganize.
                    19   In fact, all of the evidence was to the contrary. In order to confirm any plan of
                    20   reorganization, the Bankruptcy Court is required to find that “[c]onfirmation of the
                    21   plan is not likely to be followed by liquidation, or the need for further financial
                    22
                         15
                            Wilson Depo. Tr. at 262:9-12, ER 4183; McCabe Depo. Tr. at 202:5-22, ER 4064.
                    23   16
                            Wilson Depo. Tr. at 262:9-12, ER 4183; McCabe Depo. Tr. at 202:5-22, ER 4064.
                    24   17
                            Wilson Depo. Tr. at 262:9-12, ER 4183.
                         18
                    25      McCabe Depo. Tr. at 108:12-16, ER 4060.
                         19
                            Agreement, ER 1438-1447; Voskanian Depo. Tr. at 94:17-23, ER 4126.
                    26   20
                            Voskanian Depo. Tr. at 93:18-22, ER 4125.
                    27   21
                            Declaration of Brian Weiss (Adv. Dkt. No. 2), pg. 22 of 47 at ¶ 8, ER 4573.
                         22
                    28      March 19, 2020 Hearing Transcript at 19:22-20:4, ER 4283-4284.
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                     1   reorganization, of the debtor or any successor to the debtor under the plan, unless
                     2   such liquidation or reorganization is proposed under the plan.” 11 U.S.C. §
                     3   1129(a)(11).
                     4          On February 14, 2020, five days before its supplemental opposition to the
                     5   Motion was due to be filed, Scoobeez filed a plan of reorganization for the obvious
                     6   purpose of bolstering its argument to the Bankruptcy Court that a reorganization
                     7   was in prospect and that granting the motion would destroy that reorganization.23
                     8   Among other things, that plan required the reorganized debtor to pay $100,000 per
                     9   week to Hillair following the effective date of the plan.24 Not only was there no
                    10   evidence of Scoobeez’s ability to make that payment, all of the evidence
                    11   conclusively demonstrated that Scoobeez would not be able to do so since its only
                    12   client would cease doing business with Scoobeez immediately following the plan’s
                    13   effective date. Thus, the reorganization that the Bankruptcy Court relied upon to
                    14   balance the harms was illusory.
                    15          A number of courts have considered the balance of the harms in the context
                    16   of a contract counterparty’s request for relief from the automatic stay when, as here,
                    17   the contract cannot facilitate a reorganization. Matter of West Electronics, Inc., 852
                    18   F.2d 79 (3rd Cir. 1988) (reversing order denying relief from stay to permit non-
                    19   debtor to terminate its contract as abuse of discretion when debtor in possession
                    20   could not assume the contract under Federal law); Bonneville Power Administration
                    21   v. Mirant Corp. (In re Mirant Corp.), 440 F.3d 238 (5th Cir. 2006) (relief from stay
                    22   is appropriate to permit contract termination if exception to enforcement of ipso
                    23   facto clause provided for in § 365(e)(2) applies so contract cannot be assumed); In
                    24   re Adana Mortgage Bankers, Inc., 12 B.R. 977 (Bankr. N. D. Ga. 1980) (relief from
                    25   23
                            Chapter 11 Joint Plan of Reorganization as Proposed by the Debtors, Hillair and the Official
                         Committee of Unsecured Creditors (Dkt. No. 599), ER 2202-2269 (the “Plan”).
                    26   24
                            Plan §§ III.C.2.b (21:1-15) (Hillair to receive the Post Effective Date Hillair Claim) and
                    27   II.A.81 (12:27-13:7) (defining the Post Effective Date Hillair Claim as including a promissory
                         note in the sum of $3,000,000 to be paid with interest at 9% per annum at the rate of at least
                    28   $100,000 per week) ER 2227 and 2215-2219.
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                     1   stay granted to terminate contract that was not assumable); In re National
                     2   Environmental Waste Corp., 191 B.R. 832, 838 (Bankr. C.D. Cal. 1996) (annulling
                     3   stay retroactively to ratify termination of waste hauling contract by City because,
                     4   “had the City applied to the Court for relief from the automatic stay to terminate the
                     5   Newco contract, the Court would have routinely granted the motion.”); In re Deppe,
                     6   110 B.R. 898, 907 (Bankr. Minn. 1990) (granting relief from the automatic stay to
                     7   permit termination of rejected contract stating “11 U.S.C. § 362(a) maintains a
                     8   tenuous veil of protection over the estate’s rights, such as they are. Nothing would
                     9   be gained for creditors of the estate by preserving that veil. [The contract counter-
                    10   party] is entitled to the relief which it requests.”).
                    11          The Bankruptcy Court’s decision to deny the Motion and, thereby, prevent
                    12   Amazon from exercising its contractual rights so as to preserve that contract for a
                    13   possible reorganization was an abuse of discretion. The evidence before the
                    14   Bankruptcy Court conclusively demonstrated that Scoobeez had no other business
                    15   and had been unsuccessful in obtaining any other material business. Scoobeez
                    16   failed to present any evidence that any new business was in prospect. Thus,
                    17   because Amazon would be free to terminate the Agreement upon a plan of
                    18   reorganization becoming effective, there was no feasible plan of reorganization in
                    19   prospect that justified preventing Amazon from exercising its termination right. As
                    20   a result, as in the cased cited above, the Agreement was immaterial to Scoobeez’s
                    21   reorganization efforts, the concrete harms being suffered by Amazon vastly
                    22   outweighed the non-existent harm to Scoobeez’s non-existent prospects for
                    23   reorganization and the Bankruptcy Court abused its discretion by denying the
                    24   Motion. As a consequence, this Court should reverse the Bankruptcy Court’s
                    25   denial of Amazon’s motion and enter an order granting Amazon relief from the
                    26   automatic stay so that it may terminate the Agreement.
                    27   ////
                    28   ///
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                     1                                    CONCLUSION
                     2         In conclusion, for the foregoing reasons, Amazon requests that this Court
                     3   enter an order stating: (a) the automatic stay does not require Amazon to do
                     4   business with Scoobeez and (b) to the extent that the automatic stay otherwise
                     5   restrains Amazon from exercising its rights under the Agreement, the stay is
                     6   modified so as to permit Amazon to terminate the Agreement.
                     7   Dated: July 1, 2020                        MORGAN, LEWIS & BOCKIUS LLP
                                                                    Richard W. Esterkin
                     8

                     9
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                    15

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                     1                         CERTIFICATE OF COMPLIANCE
                     2         Pursuant to Federal Rules of Bankruptcy Procedure Rule 8015(h), the
                     3   undersigned hereby certifies that this brief complies with the type-volume
                     4   limitation of Federal Rules of Bankruptcy Procedure Rule 8015(A)(7)(b)(ii).
                     5         1.     Exclusive of the exempted portions of the brief specified in Federal
                     6   Rules of Bankruptcy Procedure Rule 8015(g), this brief contains 4,551 words.
                     7         2.     This brief has been prepared using Microsoft Word in 14-point Times
                     8   New Roman font. The undersigned has relied upon the word count feature of
                     9   Microsoft Word in preparing this certificate.
                    10   Dated: July 1, 2020                        MORGAN, LEWIS & BOCKIUS LLP
                                                                    Richard W. Esterkin
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                     1                                 PROOF OF SERVICE
                     2         I am a citizen of the United States and employed in Los Angeles County,
                         California. I am over the age of eighteen years and not a party to the within-entitled
                     3   action. My business address is One Market, Spear Street Tower, San Francisco,
                         CA 94105-1596.
                     4
                               On July 1, 2020, I served true and correct copies of the following documents:
                     5
                                APPELLANT AMAZON LOGISTICS, INC.’S OPENING BRIEF
                     6
                               [ELECTRONIC TRANSMISSION] by electronically transmitting the
                     7          above-referenced documents to the Clerk’s Office using the CM/ECF
                                System of the United States District Court, Central District of California for
                     8          filing and transmittal of a Notice of Electronic Filing to the CM/ECF
                                registrants on record.
                     9
                         Ashley Marie McDow and John Simon on behalf of Appellee, Scoobeez, Inc.
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                         amcdow@foley.com; jsimon@foley.com
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                    14   smoses@foley.com
                    15   Dare Law on behalf of the United States Trustee
                    16   dare.kaw@usdoj.gov

                    17         [BY ELECTRONIC MAIL] by transmitting via e-mail or electronic
                                transmission the document(s) listed above to the person(s) at the e-mail
                    18          address(es) set forth below.
                    19   David Neale and John-Patrick M. Fritz on behalf of the Official Committee of
                         Unsecured Creditors
                    20   DLN@lnbyb.com; JPF@lnbyb.com
                    21   Jennifer L. Nassiri and Crystal Nix-Hines on behalf of Hillair Capital
                         Management, LLC
                    22   jennifernassiri@quinnemanuel.com; crystalnixhines@quinnemanuel.com
                    23         Executed on July 1, 2020, at Los Angeles, California.
                    24         I declare that I am employed in the office of a member of the bar of this court
                         at whose direction the service was made.
                    25

                    26
                                                                          /s/ Ellen Woodward
                    27
                                                                              Ellen Woodward
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